Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 1 of 34

EXhibit 21

 

Th€

SAR _
Ac u_vlty

Revlew

Trends
T@Ds @*

Issues

 

 

 

 

CaSe lil7-CV-O4l79-DLC D OOOOOO t 88-21 Filed 01/19/18 Page 3 Of 34

The

SAR
ACti_Vity
R€View

Tremls
Tz])s §
Issues

 

 

Publishcd under the auspices of thc Bank Sccrccy Act Advisory Group

 

 

October 2000

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 4 of 34

Table Of Contents

Intr<)duction ...................................................................... 1
Section 1 -SAR Statistics ................................................... 2
Scction 2 -National Trcnds and Analyscs ......................... 11

1. Highlighted Trend ............................. 11

2. Other Notable Trends ........................ 12

3. Other SAR Analysis Issues ................ 14
Section 3 -Law Enforcement Cases .................................. 16
Section 4 -Tips on SAR Form Preparation and Filing ...... 24
Section 5 -Issues and Guidance ........................................ 27
Section 6 -Industry Forum .............................................. 29

Feedback Form ................................................................ 30

 

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 5 of 34

Introduction

The SAR Ac'tiw`ty Review_?`rends. iips and lssues is the product of a continuing
collaboration among the nation’s financial institutions, federal law enforcement,
and regulatory agencies to provide meaningful information about the preparation,
use, and utility of Suspicious Activity Reports (SARS) filed by financial
institutions

This publication reflects the recognition of both the relevant government agencies
and the nation`s financial institutions of the desirability ofa continuing public
exchange of information about the SAR System and its results These include,
among others, the American Bankers Association; lndependent Barikers Associa-
tion; Independent Commtmity Bankers of Arnerica; Ameriean lnstitute of Certi-
tied Public Accountants; Seeuritics Industry Association; Non-Bank Funds
Transmittcrs Group; Fedcral Reserve Board; Office of the Comptrolier of the
Currcncy; chcral Deposit Insurancc Corporation; Office of Thrift Supervision;
National Crcdit Union Administration; Federal Bureau of Investigation; U.S.
Department of Justice’s Assct Forfeiture and Money Laundering Section; U.S.
Department of Justicc’s Criminal Division; U.S. Departrnent of Treasury’s Oft`icc
of Enforcement; U.S. Customs Service; U.S. Secret Service; lnternal Revenue
Service; and Financial Crimes Enforcement Network.

The SAR Actfvi`ty Revf€w Will be published semiannuaily in October and April,
beginning in October 2000. Analytic reports, issue papers, and other publica-
tions related to or resulting from information contained in the Revr`ew may be
published separately

Questions, comments or other feedback concerning the SAR Acrfvt't_v Review
will be most welcome. Where possible, Email contact points are provided for
each section ofthe Revz'ew. A feedback sheet is included as the last page.
Coinments may also be addressed to either or both of the SAR Actr`vi'ty Revfew
project co-chairpersons:

John J. Byrne David M. Vogt

Senior Counscl & Compliance Mgr. Assistant Dircctor

American Bankcrs Assoc. Financial Crimes Enforcement Networl<
(ABA) (FinCEN)

1120 Connecticut Ave. NW 2070 Chain Bridge Road, Suite 200
Washington, DC 20036 Vienna, VA 22182

(202) 663-5029 (phone) ('/'03) 905-3525 (phone)

(202) 828-5052 (fax) (703) 905-3698 (fax)

`|byrne{c£taba.com vogtd@t`tncen.treas.gov

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 6 of 34

Section 1
Suspicious Activity Report Stat:istics1
1 April 1996 - 31 August 2000

The statistics on the following pages relate to SARs filed since April 1996 by
depository institutions (i.e., banks, thrifts, and credit unions). A small part of the
total volume relates to reports filed by affiliates of depository institutions or, in
some cases, filed voluntarily by brokers and dealers in securities, money services
businesses, or gaming businesses

 

Note: SAR data is continuously updated as additional forms are filed and processed
For this reason, there may be minor discrepancies between the statistical figures
contained in various portions of this report.

 

Chart 1
SAR Filings by Year2 and Month

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Month Number of Filings

1996 1997 1998 1999 2000
.lanuary 261 5794 7600 8621 10789
Febga_ly SB 7107 9950 9910
March 6967 8718 10986 14923
April 2022 7628 8293 9759 11928
May 3315 6814 7646 10625 13364
June 5756 6414 8163 10715 13908
.luly 6882 6844 9061 8759 12031
August 6785 6930 7696 10014 13500
September 6139 7221 8625 8735
October 7269 7486 8223 10049
November 5060 63 84 7577 10540
December 6297 7593 8223 l 1753
Subtotal 49,786 81,597 96,932 120,506 100,3533
'I`otal Filings 449,177

 

 

 

 

‘ Statistics generated for this study were based on the Record Control Number of each record within the SAR
system. Numeric discrepancies between total number of filings and the combined number of filings of States
and/or territories is a result of multiple filers listed on one or more SARs.

2 SARs were erroneously filed for the years 1937 (l); 1988 (l); and 1994 (l).
3 Represents those SARs currently in die system as of 31 August 2000.

 

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 7 of 34

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Chart 2
SAR Fi]ings‘* by States 8c Territories
(Matrix)
State/Territory Total Filin S
1996 1997 1998 1999 20005

Alabama 352 451 407 528 407
Alaska 63 59 132 157 240
American Samoa 2 7 2 8
Arizona 1817 3100 2428 2505 2494
Arkansas 197 335 298 430 325
Califomia 12217 18151 23370 25042 27354
Colorado 844 1081 1480 1702 1155
Connectieut 398 785 950 4449 3228
Delaware 1097 1426 1664 2006 1888
Distn`ct of` Columbia 166 234 281 285 292
Fed. States Micronesia 1 3 3 l

Florida 3971 6637 7131 7969 6642
Georgia 869 1504 1688 2205 1799
Guam 25 80 56 84 55
Hawaii 390 535 553 575 475
Idaho 106 155 124 186 262
Illinois 1471 2768 2899 3866 3112
Indiana 556 769 969 1186 881
Iowa 251 363 326 427 288
Kansas 254 284 363 555 305
Kentucky 262 388 426 754 516
Louisiana 480 594 714 926 1311
Maine 115 186 194 213 147
Marshall Islands 1

Maryland 615 937 1201 1537 1371
Massachusetts 857 1402 1848 213 1929
Michigan 1119 1717 1858 2753 2377
Minnesota 950 2263 2212 2513 1866
Mississippi 152 251 222 283 343
Missouri 604 960 l 153 1215 922
Montana 71 107 101 156 130
Nebraska 178 248 316 371 391
Nevada 662 1488 2009 2062 2135
New Hampshire 244 503 419 573 255
New Jersey 888 1536 2437 3450 2536

‘ SARs were erroneously filed for the years 1937 (|-GA); 1988 (l); and 1994 (l-CA).
5 Represents those SARs currently in the system as of 31 August 2000.
3

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 8 of 34

Chal‘t 2 (cont.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State/Territory Total Filings
New Mexico 220 237 286 314 247
New York 5259 9679 13441 17931 11710
North Carolina 893 1625 21 19 23 92 2042
North Dakota 42 215 213 122 148
Noithem Mariana Islands 22 5 13 33 42
Ohio 903 1721 2230 2297 1897
Oklahoma 379 497 506 698 525
Oregon 555 1129 1201 1807 1699
Overseas 12 39 7 2 19
Pennsylvania 1452 2482 2544 3571 2244
Puerto Rico 146 562 456 316 714
Rhode Island 155 290 285 503 314
South Carolina 279 563 640 669 473
South Dakota 316 430 574 675 163
Tennessee 525 802 922 998 973
Texas 3805 4906 6231 7606 6286
U.S. Virgin Islands 3 8 12 14 15
Unknown/Blank 318 205 28 26 17
Utah 374 882 1114 1384 1476
Vermont 5 5 91 68 5 8 44
Virginia 598 1206 1564 1537 1221
Washington 753 1766 2192 3147 2334
West Virginia 109 151 680 737 137
Wisconsin 360 552 677 755 614
Wyoming 26 43 54 40 37

 

 

 

 

 

 

 

 

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 9 of 34

Chart 3
SAR Filings Since 1996 Ranked by States 8c Territories

Rank State/'I`erritory Filin s Percentage6
(Overal ) (Overall)
Califomia 106134 23.5%
New York 58020 13%
Florida 32350 7.2%
exas .
Illinois 14116 3.15%
Arizona 12344 2.75%
P lvania 12293 2.75%
NewJ 10847 2.4%
W n 10192 2.25%
Michigan 9824 2.2%
onnectlcut
Minnesota 9804 2.2%
N Caro ma 9071 2%
Ohio 9048 2%
Nevada 8356 1.85%
aware 1 .
Georgia 8 5 1.8%

o 6262 1.4%

usetts .
6126 1.35%
Mary 5661 1.25%

SSOllI'l

CHHCSS€C
lana
lSCOI‘lSll'l

01‘1'13.
awall
en

 

36 New Hampshire 1994 Less than 1%

6 All percentages are approximate

 

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 10 of 34

Cha!'f 3 (cont.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Rank State/Territory Filin s Percentage
(Overal ) (Overall)
37 West Virginia 1814 Less than 1%
38 Kansas 1761 Less than 1%
39 Iowa 1655 Less than 1%
40 Arkansas 1585 Less than 1%
41 Rhode Island 1547 Less than 1%
42 Nebraska 1504 Less than 1%
43 New Mexieo 1304 Less than 1%
44 District of Columbia 1258 Less than 1%
45 Mississippi 1251 Less than 1%
46 Maine 855 Less than 1%
47 Idaho 833 Less than 1%
48 North Dakota 740 Less than 1%
49 Alaska 651 Less than 1%
50 Unknown/Blank 594 Less than l%
51 Montana 565 Less than 1%
52 Vermont 316 Less than 1%
53 Guam 300 Less than l%
54 Wyoming 200 Less than 1%
55 Northern Mariana
Islands 115 Less than 1%
56 Overseas 79 Less than 1%
57 U.S. Virgin Islands 52 Less than 1%
58 Ameriean Samoa 19 Less than 1%
59 Fed. States of
Micronesia 8 Less than 1%
60 Marshall Islands 1 Less than 1%

 

 

 

Case 1:17-cV-O4179-DLC Document 88-21 Filed 01/19/18 Page 11 of 34

Chart 4
SAR Filings Since 1996 Ranked
by Characterization of Suspicious Activity

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Rank Violation Filin s Percentage7

(Overa ) (Overall)
1 BSA/Structuring/Money Laundering 221402 45.3%
2 Check Fraud 64237 13.15%
3 Other 35646 7.3%
4 Counterfeit Check 25670 5.25%
5 Defalcation/Embezzlement 22700 4.65%
6 Credit Card Fraud 21856 4.5%
7 Unknown/Blank8 18561 3.8%
8 Check Kiting 18392 3.75%
9 False Statement 10441 2. 15 %
10 Consumer Loan Fraud 10347 2.1%
11 Mongage Loan Fraud 10276 2.1%
12 Mysterious Disappearance 8097 1 .65%
13 Misuse of Position or Self` Dealing 7455 1.5%
14 Commercial Loan Fraud 4301 Less than 1%
15 Debit Card Fraud 3021 Less than 1%
16 Wire Transfer Fraud 2737 Less than 1%
17 Counterfeit Crcdit/Debit Card 1746 Less than 1%
18 Counterfeit lnstrument (Other) 1326 Less than 1%
19 Bribery/Gratuity 473 Less than l%
20 Computer Intrusion9 9 Less than 1%

 

 

 

 

 

 

7 A11 percentages are approximate

“ The Unknown/Blank classification encompasses those alpha and/or numeric characters which
do not correspond to an established violation, fields containing unrelated symbols or nothing
more than carriage returns, or instances where the field is null (void of any data or action).

" Violation did not appear until Revised June 2000 TD F 90-22.47

 

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 12 of 34

Chart 5
SAR Filings by Characterization
of Suspicious Activity

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Matrix)

Violation 1996 1997 1998 1999 2000 '°
BSA/Structuring/

Money Laundering 20565 35949 475 09 61007 56371
Bribery/Gratuity 91 109 93 101 79
Check Fraud 8639 13274 13832 16239 12253
Check Kiting 2747 4298 4037 4061 3249
Commercial Loan Fraud 554 960 905 1080 802
Computer Intrusion 0 0 0 0 9
Consumer Logn Fraud l 148 2048 2185 2549 2417
Counterfeit Check 2317 4244 5 918 7396 5 795
Counterfeit Crcdit/Debit Card 385 387 182 351 441
Counterfeit Instmment (Other) 212 292 265 321 23 6
Credit Card Fraud 3375 5083 4383 4938 4077
Debit Card Fraud 245 610 566 721 879
Defalcation/Embezzlement 3136 5306 5260 5179 3819
False Statement 1807 2204 1978 2376 2076
Misuse of Position or Se|f Dealing 914 1537 1645 2063 1296
Mortaaae Loan Fraud 1265 1719 2268 2936 2088
Mysterious Disappearance 1 168 1767 1855 1857 1450
Wire Transfer Fraud 284 499 594 772 588
Other 4600 6777 8696 8755 6817
Unknown/Blank 1652 2317 2728 7295 45 69

 

 

 

 

 

 

w Represents those SARs currently in the system as of 31 August 2000.

 

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 13 of 34

Chart 6
SAR Filings by Primary Federal Regulator

 

 

 

 

 

 

 

 

Regulator Total Filings by Year
1996 1997 1998 1999 2000ll

Federal Reserve Board 5486 9676 10798 14656 1 1790
Federal Deposit

Insurance Corporation 9839 14908 14735 15883 12818
Office of the Comptroller

of the Culrency 25072 41722 51879 64946 59299
Office of Thrift Sur)ervision 2071 2624 2846 3041 2159
National Crcdit Union Association 5760 9133 1 1463 12316 9798
Unspecified'2 1558 3534 5211 9664 6031

 

 

 

 

 

 

 

 

" Represents those SARs currently in the system as of 31 August 2000.
'2 Unsper:ified regulator may include those financial and/or non-bank financial institutions not

regulated by one of the five agencies listed above. Such entities include, but are not limited to
Money Services Businesses, lnsurance Companies and Securitics Brokers/Dea|ers.

 

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 14 of 34

Chart 7

Direct Referrals of SARs by Financial Inst:itutions
to Law Enforcementl~" & Regulatory Agencies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agency Referrals

Federal Law Enforcement
Federal Bureau of Investigation 10849
lnternal Revenue Service 6937
United States Secret Service 3522
United States Postal Inspection Service 1396
United States Attomey’s Office 167
Department of the Treasury 1 17
United States Customs Service 98
Department of State 43
Naval Criminal Investigative Service 18
Drug Enf`orcement Administration 17
Detroit Computing Center 14
Department of Justice 11

Total F ederal Law Enforcement 23,189
Federal§gulatory Agencies
Federal Deposit lnsurance Corporation 44
Federal Reserve Board 32
Ofiice of the Comptroller of the Currency 30

Total Regglatory Agencies 106
State and Local Law Enforcement
City Police Department 9424
County/Parish 1391
State Police 598
State/DistrictAttomey’s Office 207
State (Other) 41

Total State and Local Law Enforcement 11,661
Other 594
Unspecified 486

 

 

'3 Figurcs reflect those entities receiving ten (10) or more SAR referrals Some SARs may

reference making referrals to multiple law enforcement agencies

 

10

 

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 15 of 34

Section 2
National Trends and Analyses

This section of the SAR Actt'vity Review outlines examples and patterns of suspi-
cious activity reported in the national database. Some of the information has been
published previously, but it is included here for ease of reference.

1. Hz;ghlz;ghted Trend

Shell Company Actim'tfy

SARs filed during the first half of 2000 reflect several complexes of activity
involving suspicious wire transfer patterns. As reported in the SAR narratives,
many of these suspicious wire transfer patterns involve shell companies_i.e.,
corporations that engage in no apparent business activity and that only serve as a
conduit for funds or securities. Olien the activities also involve foreign transac-
tors located in jurisdictions considered non-compliant or problematic, as reported
in FinCEN Advisories.

Several complexes of suspicious wire transfer transactions have been observed,
each involving geographically complicated wire transfer routing (originator,
beneficiary, or transit/intennediary banks) and/or geographically complex origina-
tor and beneficiary activity. More than 8500 million in suspicious Wire transfers
have been reported in connection with this type of activity,

These complexes display common patterns of` underlying suspicious activity:

l A lack of evidence of legitimate business activity, or any business operations
at all, undertaken by many of the companies;

l Unusually large numbers of wire transfers (several thousand wires totaling
more than $500 million);

l 'l`ransactions conducted in bursts of activities within a short period of time;

l Beneficiaries maintaining accounts at foreign banks that have been the subject
of previous SAR reporting due to suspicious wire transfer activity;

l Reappearing beneficiary banks based in offshore locations, the account of at
least one of which has been closed by the reporting financial institution due to
overall suspect activity.

Financial institutions should carefully review transactions involving companies
registered in the United States when those companies are unknown to the finan-
cial institution, and.'

 

11

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 16 of 34

l represent themselves as financial institutions, or

l appear as groupings of companies tied to the same set of transactors, or

l are co-located at the same address or have a common resident agent, or

l are involved in unduly complex patterns of transactions, especially multiple
transactors and large volume wire transfers, or

l are involved in patterns of circular transactions, or

l are involved in transactions originating in or destined for non-compliant or
other problematic jurisdictions identified in FinCEN Advisories, or

l appear in association with transactions conducted in bursts and even currency
amounts, or

l engage in transactions inconsistent with the stated business purpose, or

l are bearer share corporations, or

l cannot be identified as legitimate companies through normal business verifi-
cation checks, or

l cannot or will not provide adequate information about business activities
when asked.

2. Other Notable Twnds

Po.m`ble Reflectiom of Russian Crimz`nal Actz'vity

Law enforcement information indicates a steady increase in Russian organized
criminal activity in the U.S. since the early 1990s. Senior law enforcement
officials requested assistance in understanding the scope of financial activity that
may be linked to Russian Organized Crime groups in the U.S. An analysis of
Bank Secrecy Act (BSA) data indicates that SARs filed by U.S. financial institu~
tions for suspected structuring/money laundering activity involving Russian
transactors, owners or citizenship averages approximately $200 million per year.
A correlation of SARs, Currency Transaction Reports (CTRs) and Currency and
Monetary Instrument Reports (CMIRS) for Russian transactions indicates some
level of financial activity in 45 states, with heavier concentrations in the metro-
politan areas of New York, Boston, Washington D.C., Chicago, Miami, Los
Angeles, San Francisco, and Seattle. There are also indications of unusual pat-
terns of suspicious financial activity in Texas (i.e., San Antonio, Houston, Dallas/
Ft. Worth, El Paso, and along the U.S.-Mexico border).

Increased SAR Reportzfng Im)¢)lm'ngr Mexico
Law enforcement information and SARs filed by U.S. financial institutions

confirm a shift in suspected money laundering activity involving Mexico. Rather
than transiting through Mexico en route to Colombia or other Central and

 

12

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 17 of 34

South American destinations, a shift has been made toward using techniques and
schemes in which drug proceeds are cycled through Mexico directly back into
the U.S. As reported in SARs, for example, patterns of large wire transactions
($1.5 million or more per transaction) moving funds to U.S. payees from Mexi-
can money exchange houses and other financial institutions have been observed
that may at least, in part, be attributable to changes in the laundering cycle.
Generally speaking, such changes in patterns are believed to stem from the
heightened profile of Mexico-based criminal groups in drug trafficking in the
U.S. which, in tum, creates a corresponding increased threat of money launder-
ing activity linked to Mexico.

Surpicious Actz'm`tjy Reported by Casz`nos

A review of SARs filed voluntarily with FinCEN by gaming establishments reveals
patterns of suspicious activity in which casino accounts are used to transfer sig-
nificant amounts of funds through non-bank financial transaction channels The
funds are cashed out by the client or moved to other accounts with minimal or no
gaming activity. SAR filings by casinos located in Connectieut, lllinois, Missis-
sippi, Nevada, and New Jersey during 1998-1999 indicate that wire transfers and
cashiers checks are used to put hinds on deposit as credits, or "front money,” for
use by the client for subsequent gambling activity at the casino. All of the SARs
indicate that the client gambles minimally or not at all, and in the majority of the
cases, takes the balance out in cash on the same day or within a matter of days.
(Refer to FinCEN SAR Bulletin Vol. 2, No. 1, August 2000, for additional infor-
mation).

Regz`omzl Money Remit'ter A¢tim`ty

An analysis of SARs reflects suspicious activity involving money remitters
strongly reminiscent of the money laundering activity that resulted in the issuance
of a Geographic Targeting Order (GTO) for the New York metropolitan area during
the 1990s. The activity reported in the SARs includes structuring, unusually large
and frequent deposits (i.e., cash, checks, third party checks, or money orders) and
unusual wire transfer activity which is atypical for the businesses involved.

Update on Suspicz'ous Automated T¢'zller Mm:hine (ATM) Actz`m'ty

Follow-up analysis of SAR reporting on ATM transactions (see FinCEN SAR
Bullett'n Vol. 1, No. l, June 1999) confirms a continuing trend in suspicious trans-
actions in which funds are wired to/through a U.S. financial institution from a
foreign source and then withdrawn in cash in a third country using ATMs. SARs

 

13

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 18 of 34

indicate such ATM withdrawals in at least 57 nations, with the highest incidence
in Colombia (408 occurrences), followed by Venezuela (145), Mexico (119), and
Argentina (31). The wire transfers that start the cycle originate primarily in
Switzerland, Italy, Germany, and England. Amounts up to several hundred thou~
sand dollars have been withdrawn over several months using this method.

3. Other SARAnalysz`s Bsues

Role of SARS in High-Risk Money Laundering @“ Related
Pz`nancz'al Crime Areas

T he National Money Laundering Strategy for 2000"’ established a requirement to
focus anti~money laundering law enforcement resources in “High-Risk Money
Laundering and Related Financial Crime Areas,” or HIFCAs. A HIFCA should be
understood as a geographic area, industry, sector or institution, or group of finan-
cial institutions which is being victimized by, or is particularly vulnerable to,
money laundering and related financial crimes and, therefore, warrants concen-
trated law enforcement efforts at the federal, state and local levels. During 2000,
three metropolitan HlFCAs have been designated; Los Angeles, New York/New
Jersey, and San Juan, Puerto Rico. A fourth HIFCA, reflecting the systemic
problem of cross-border currency movements, was created for the southwest
border areas of Arizona and Texas. Additional designations are expected.

SARs are important to the HIFCA process in two key ways. First, the number of
SARs filed in a geographic area is used as a factor in identifying the overall scope
of potential financial crime in the area, and in ranking the area for possible
HIFCA designation in comparison to other geographic areas. Second, and even
more importantly, the number of SARs filed provides HIFCA action teams with a
road map to assist in identifying potential criminal financial activity for the
coordinated federal, state and local law enforcement initiatives envisioned by The
National Money Laundering Strategyfor 2000.

Real advancements have been made over the past year in building the tools
needed to create such SAR “road maps.” Each HIFCA will have access, through
an on-site FinCEN analyst, to a prototype SAR data-mining capability that
significantly enhances law enforcement’s ability to identify organized criminal

'4 The National Money Laundering Stratcgies of 1999 and 2000 were jointly developed by the
Departments of Justice and Treasury to describe detailed plans to combat money laundering as
required by The Money Laundering and Financia| Crimes Strategy Act of 1998, P.L. 105-310
(October 30, 1998). S_e_e 31 U.S. Code 5341(b) and 5342(b).

 

14

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 19 of 34

financial activity over large geographic arcas. HIFCAS will usc this new tool to
help guide their anti-money laundering initiatives and to beta test it for wider
distribution to law enforcement

Non-Complz`ant Counrrz`eS-PostAdvz'sm/y SARAnalysz`s

in July 2000, FinCEN issued 15 Advisories conceniing deficiencies in the anti-
money laundering controls of the following nations_Bahamas, Cayman lslands,
Cool< lslands, Dominica, lsrael, Lebanon, Liechtenstein, Marshall Islands, Nauru,
Niue, Panamaq Philippines, Russian Federation, St. Kitts & Nevis. and St. Vincent
& the Grenadines. Financial institutions were instructed to consider such defi-
ciencies in determining whether transactions involving each of the 15 nations
required the filing ofa SAR.

FinCEN is in thc process of analyzing SAR filings for each of the designated
nations to determine if the overall volume of SARs and the nature of the suspi-
cious activity have changed as a result of the Advisory process Fcedback on the
results of`the post-Advisory analysis will be provided at a subsequent date once
sufficient data has been accumulated to allow a meaningful comparison with the
pre-Advisory baseline information for each of the affected nations.

For questions or comments on Section 2, National Trends and Analyses, please
contact the 0ffice of Strategic Analysis at FinCEN by Email: ora§thincen.treas.gov.

 

15

 

Case 1:17-cv-04179-DLC Document 88-21 Filed 01/19/18 Page 20 of 34

Section 3
LaW Enforcement Cases

This section of the SAR Activity Review provides law enforcement agencies the
opportunity to summarize investigative activity in which SARs and other BSA
information played an important role in a successful investigation and/or prosecu-
tion of criminal financial activity. Each subsequent issue of the SAR Activity
Review will include new examples based on information received from law
enforcement during the preceding six months.

SAR Filing Uncover.r Investment Fraud Sr:heme

The submission of a SAR filing led to the uncovering of a $28 million invest-
ment fraud scheme in which approximately 140 individuals were victimized. The
subject convinced the victims/investors that he was a successful businessman
Who operated many highly profitable business ventures. The subject would make
periodic payments to some investors using monies paid to him by other investors.
He also provided false and misleading reports to the victims/investors about the
performance of their investments In fact, the subject used the monies paid to
him by the investors to support his lavish lifestyle, gambling, and speculative
stock trades. The subject pled guilty to mail fraud and engaging in monetary
transactions in property derived from specified unlawful activity. He is awaiting
sentencing (Source: U.S. Attorney.’s Offz`ce, Northern District of California)

SAR Filing Leaois to 125-Count Indictment in $2. 7 Millz'on
Embezzlement Case

A SAR filing by a credit union in Rapid City, South Dakota was instrumental
in uncovering a massive scheme by individuals to embezzle approximately
$2.7 million from a South Dakota College. The investigation was conducted by
lRS-CID, FBI, the Department of the Interior, and the Department of Education
and it produced a 125-count indictment of seven individuals charged with money
laundering, structuring, conspiracy, obstruction of justice, and tax evasion. The
SAR filing indicated that the defendants were structuring currency deposits in
amounts under $10,000. The primary defendant in the case received a sentence
of 10 years in custody and was ordered to pay restitution in the amount of
$2.6 million. The co-defendants received sentences ranging from 24 months to
97 months in custody. (Source.' IRS-Criminal Investigation Divt'sion)

 

16

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 21 of 34

SAR Filing Unveils Customs Fraud

A U.S. Customs Service investigation in the Washington, D.C. area Was
initiated after a Virginia-based bank reported suspicious currency activity on a
suspected money launderer. The information indicated possible structuring of
financial transactions The suspect had no visible means of support yet more than
$4 million was deposited in his account and a comparable amount was withdrawn
over a one-year period. A subsequent investigation revealed that the defendants
were engaged in Customs fraud through the overvaluation of Generalized System
of Preferences (GSP) merchandise Based upon the suspicious referral provided
by the bank, six people were ultimately indicted, arrested, and convicted on
money laundering charges (Source: U.S. Customs Service)

SAR Filing Uncover.r Addz'tional Countmj%z't Check Fraud

In a Florida case, a SAR filing led to the identification of additional iiaud
perpetrated by a subject already under investigation by special agents within the
U.S. Secret Service’s (USSS) Tampa Field Office. From December 1996 through
May 1997, investigators identified an individual who deposited counterfeit
commercial checks into various bank accounts opened under aliases and then
almost immediately wired the funds from the accounts to Nigeria. Since these
checks were drawn against true bank accounts, several days would pass before the
counterfeit checks were detected In some cases, the counterfeit checks actually
cleared the bank that the checks were drawn upon. In total, the subject had
deposited and collected on $400,000 in counterfeit commercial checks,

In June of 1997, a financial institution filed a SAR form stating in part that the
subject (using an alias) had opened an account at the bank using a small amount
of money. Just a few days later, $85,000 in commercial checks was deposited
into the account. A short time later, the subject attempted to wire a large portion
of the $85,000 to Nigeria via a bank in New York City. Personnel within the
original bank inquired about the sporadic account activity and the wire transfer,
and as a result, did not wire the funds and identified the commercial checks as
counterfeit This information was included on the SAR form filed by the finan-
cial institution. The USSS investigators then learned that the subject used the
name identified by the bank as an alias. As a result of this SAR filing, investiga-
tors were able to make the necessary link and attribute additional fraud losses to
the defendant. The defendant was arrested, convicted and sentenced to
48 months in prison. (Source.' U.S. Secret Service)

 

17

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 22 of 34

Orgam'zed Crime Net‘work At‘mckzd with the Help of SARs

The U.S. Customs Service in Chicago conducted an investigation of a Russian
and Lithuanian organized crime group that was heavily involved in the smuggling
of stolen luxury vehicles out of the U.S. into Europe. lndependent analysis of a
SAR filing showed suspicious behavior that related to the Russian organized
crime network that was under investigation. The SAR filing was later brought to
the attention of the Customs case agent who used the filing to identify additional
associates and bank accounts The information contained in the SAR filing
contributed to the successful prosecution of the suspects and the seizure and
forfeiture of assets (Source: U.S. Customs Service)

Analysz's of SAR Filings and CTRs Leads to Indictments
of Criminal Organiza,tz'on

A U.S. Customs Service investigation in Houston of a criminal organization
involved in the repackaging and exportation of stolen commercial baby formula
was aided by an analysis of SAR filings and CTRs The criminal network, which
operated in several states, laundered their illicit profits through financial institu-
tions to the Middle East. An analysis of CTRs monitored the movement of these
funds. Subsequently, SAR filings were discovered which highlighted the sus-
pected transactions An analysis of the SAR filings and CTRs, coupled with a
combination of various investigative techniques, led to multiple indictments on
numerous federal offenses, including money laundering, and the identification
and seizure of several bank accounts (Source: U.S. Customs Service)

Opemt£on Mule Tmz`n

On July l, 1998, the Chief Financial Officer, President, and Vice-President of
a check cashing company were arrested on money laundering charges stemming
from a two-year investigation conducted by the Los Angeles office of the FBI and
the Los Angeles Police Department According to corporate filings, the company
was one of the largest check cashing enterprises operating in the western U.S.,
and purported to be one of the leading U.S. money transfer agents providing
services to Mexico and Latin America. It was considered a significant and grow-
ing company among the increasing number of independent non-bank financial
institutions operating in many inner-city neighborhoods where banks have re-
duced their presence.

 

18

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 23 of 34

The three executives, along with six other employees and associates, Were
arrested after a federal grand jury returned a 67-count indictment against
ll defendants, charging multiple conspiracies, money laundering, evading cur-
rency reporting requirements aiding and abetting, and criminal forfeiture

The initial target of the investigation was a company store in Reseda, Califor-
nia. Investigators, working in an undercover capacity, approached the manager,
who agreed to launder “drug” money in exchange for a cash fee. Specifically, the
manager converted large amounts of cash into money orders issued by the com-
pany. As larger sums were laundered, the manager sought the assistance of his
associates working at other store locations When a new manager took over
operations at the Reseda store in April 1997, he brought in the company’s corpo-
rate officers, including the CEO, the President, and the Senior Vice-President.
Pocketing the cash fee, the corporate officers authorized the issuance of money
orders and the wire transfers of large sums of “drug” money to a secret bank
account in Miami, Florida while the cash was used to maintain operations at the
company stores

To avoid detection by law enforcement, no SAR forms or CTRs were filed by
the company for any of these transactions; however, SAR forms and CTRs were
filed by the banks into which the cash deposits were made, and these filings
significantly enhanced the value of other information received. ln total, the
defendants laundered over $3.2 million dollars of “drug” money. The investiga-
tion is believed to be one of the largest money laundering “sting” operations
targeting a check cashing business in U.S. history. (Source.‘ DOJ)

Six People Arrestedfi)r Allegedly Bilkz`ng Mz`llz'om of Dollars
ofGoodsfi~om Food Bank

On October 7, 1999, a man and woman, their lawyer and three private investi-
gators in their employ were arrested for alleged involvement in an elaborate
conspiracy. The conspiracy included bilking millions of dollars worth of goods
from a food bank, burning buildings for insurance, stalking, and trying to corrupt
the judicial system. Another lawyer is being sought. The 266-count criminal
complaint stemmed from a 29-month investigation conducted by the San Bernar-
dino County District Attomey’s Office. The couple was charged with a total of
107 counts including conspiracy to commit grand theli, insurance fraud, money
laundering, obstruction of justice, arson, and assault with a deadly weapon.

The couple was accused of selling nearly 3 million pounds of food and other
merchandise they obtained for free from the Second Harvest Food Bank in River-
side, CA, beginning in l99l. The food was obtained using the tax-exempt status

 

19

 

Case 1:17-Cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 24 of 34

of` a nonprofit group without the group’s knowledge In addition, the couple
allegedly used private investigators to stalk and harass the husband’s ex-wife, her
boyfriend and others; filed false lawsuits to force judges off court cases in which
he was involved; set fire to their Rancho Cucamonga home and collected
$600,000 in insurance; and conspired to set fire to a Warehouse.

The Califomia Department of Justice, Bureau of Narcotics Enforcement,
assisted investigators from the San Bemardino County District Attomey’s Office
by conducting a review of the Currency and Banking Retrieval System (CBRS)
database for BSA reports relating to the subj ects. The review was accomplished
through FinCEN’s Gateway System. Three Suspicious Activity Reports, nine
CTRs, and two Cturency Transaction Reports by Casino (CTRCS) were filed.

The lead investigator said the BSA documents provided to him assisted in justify-
ing probable cause to obtain several signed search warrants He further stated
that it gave him a much better sense of the way cash was used by the husband, his
primary subject. The documents also helped him to locate a bank that the hus-
band Was using to withdraw large amounts of cash. A total of 45 search warrants
were served in this case.

All remain jailed, with bail ranging from $500,000 to $7.5 million each.
(Source.' Lead Investigato); San Bernardino County District A£torneyfs' Ojice)

B'Ugest T/Vorker’s Compenmtion Smm in Southem Califomia
ibtalz'ng more than $3 Millz'on Dollm's

On June 25, 1999, a doctor from southern Califomia, was ordered to pay
$250,000 in fines and was sentenced to five years’ probation after his conviction
in Los Angeles County Superior Court on three money laundering charges The
doctor is awaiting trial on securities and insurance fraud charges Both cases
were brought by the Los Angeles District Attorney’s Office in connection with the
doctor’s role as the alleged mastermind of what authorities call one of the biggest
worker’s compensation seams in southern Califomia during the late 19805 and
early 19905.

The Califomia Department of Justice, Bureau of Narcotics Enforcement,
assisted the Los Angeles District Attomey’s Office by conducting a review of the
Currency and Banking Retrieval System (CBRS) database for BSA reports relat-
ing to the doctor. The review was accomplished through FinCEN’s Gateway
System. Four Suspicious Activity Reports, 33 CTRs, eight Currency Transaction
Report by Casino (CTRCs), 16 Foreign Bank Account Reports (FBARs), and one
Currency or Monetary Instrument Report (CMIR) were filed. The Deputy District
Attorney (DDA) handling the prosecution said the documents revealed that no

 

20

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 25 of 34

CTRs had been filed for 1989-1992. A certified document stating that no CTRs
were filed during this time was introduced into evidence This was very impor-
tant to forestall the defense claim that CTRs in fact were filed. The DDA further
said the one-month trial has ended with a conviction on three counts of violating
the State of Califomia’s money laundering law, with the intent to commit Califor-
nia tax fraud.

The DDA indicated, in preparing documents for sentencing, that because the
case involved the laundering of $3 million, it is the state’s largest money launder-
ing case to date. (Source.' Deputy District Attorney, Los Angeles District
Attorney Is' Office)

Stock Fraud Cheats Elderly Out of $ 1 00 Million

Indictments announced on July 8, 1999, in Manhattan, New York allege that a
stock broker from Naples, Florida and other defendants bilked investors by lying
to them, performing unauthorized trades, ignoring sell orders, engaging in forg-
ery, and committing outright theft. Some investors mostly elderly, were per-
suaded to get as much cash as possible from their credit cards, or withdraw
money from retirement accounts, to invest with the stock broker. Virtually all of
that money was lost.

The brokerage firm, which was started in 1994, was created to steal money
from investors At its peak, it had more than 300 brokers and 50,000 customer
accounts at offices in Iselin, New Jersey and Naples, Florida, The defendants all
from New York, New Jersey, Connectieut, and Florida, were charged variously
With enterprise corruption, grand larceny, scheme to defraud, falsification of
business records, money laundering, and related crimes

The District Attomey’s Office of New York County, Manhattan Office, con-
ducted a review of the Currency and Banking Retrieval System (CBRS) database
for BSA reports relating to the stock broker and members of his brokerage firm
they identified in their investigation. The review was accomplished through the
use of FinCEN’s Gateway System. The reports included two Suspicious Activity
Reports, 97 CTRs, and nine Currency Transaction Reports by Casino (CTRCs),
lnvestigators reported that BSA data obtained provided information about the
individuals and the entities and their inter-relationship lt helped identify and/or
confirm identities of those under investigation and provided some specific infor-
mation regarding bank transactions and account information lnvestigators noted
that BSA data identified over 12 bank accounts f`or the subjects that were not
previously known. Of those account holders, about five were eventually charged
in felony indictments The BSA data also identified important financial transac-

 

21

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 26 of 34

tions in Atlantic City, New Jersey, Overall, Gateway saved the investigators time
and effort, and helped focus investigative resources more efficiently

The Manhattan District Attomey’s Office has begun a civil court proceeding to
recover $99,269,688 as the proceeds of the defendants’ criminal acts. (Source:
lnvestigators District Attorneyfs' Ojj‘ice of New York County, Manhattan O]jl`ce)

juan leds Gm'lljy to Laumlerz`ng $5.9 Millz'on in Dmg Proceeds

An individual from Catlettsbury, Kentucky pleaded guilty in U.S. District
Court on May 19, 1999, to laundering $5.9 million in drug proceeds from the sale
of marijuana in West Virginia and Kentucky. The indictment alleged that the
individual, his brothers, his stepbrother, and three other suspects, conspired to sell
marijuana and transfer the profits between bank accounts in West Virginia,
Kentucky, Ohio, and Florida in an effort to make the money appear legitimate

The Cabell County Federal Drug Task Force, which consists of FBI, IRS
Criminal lnvestigation Division (CID) agents, West Virginia State Police, Cabell
County Sheriff"s Office, and Huntington City Police Department officers con-
ducted an investigation which targeted the individual. The task force requested
the West Virginia Intelligence Exchange to conduct a review of the Currency and
Banking Retrieval System (CBRS) database for BSA reports relating to members
of this drug trafficking organization This review was accomplished through
FinCEN’s Gateway System. The reports included one Suspicious Activity Report
and 17 CTRs The analyst said information obtained from BSA data helped them
to identify assets, and to locate bank accounts used by this drug trafficking
organization.

As part of a plea agreement, the individual admitted to laundering money from
1992 to 1996, and to selling marijuana during that period. He also agreed to
cooperate in forfeiting money and other property, including three luxury cars, six
homes, and a warehouse (Source: Analyst, West Virginia State Police)

Reports Filez)l under the BSA Critz`ml to Lmye.rt Medicaid Fraud
Cm'e in the Nation

The Newark U.S. Attomey’s Office and the IRS utilized reports filed under the
BSA to help build the largest Medicaid fraud case in the nation to date. This
multi-agency investigation, also involving the FBI and the FDA, uncovered a
New Jersey pharmacist who defrauded the Medicaid program by fraudulently
obtaining Medicaid numbers and prescription slips and then falsely billing federal
and state medical assistance programs for prescription items that were never

 

22

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 27 of 34

dispensed Reports filed under the BSA helped investigators piece together their
case. Once the primary target of the investigation became a cooperative defen-
dant, investigators were also able to bring to culmination three other associated
cases Using the forfeiture procedures available in money laundering cases, the
government has recovered a total of $5.5 million in fraud proceeds that the
subjects laundered through various bank and investment accounts (Source: U.S.
Attorney fs Oyj'ice, New Jersey and IRS)

 

23

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 28 of 34

Section 4
Tips on SAR Form Preparation & Filing

The information obtained from the filing of SARs plays an important role in
identifying potential and actual illegal activities, such as money laundering, fraud
and abuse, and it assists in the detection and prevention of the flow of illicit hinds
through our financial system. For these reasons, it is critical that the information
being conveyed in SAR filings be as accurate and complete as is possible. The
following tips will assist in ensuring the accuracy and completeness of SAR
filings:

l The narrative section of the SAR should provide a detailed description of the
known or suspected violation of law or suspicious activity. While detailed
suspect information may not always be available (e.g., in situations involving
non-account holders), such information should be included to the maximum
extent possible.

l Supporting documents should never be attached to a SAR form. If a filer has
documentation relating to the suspicious activity being reported, reference
should be made to the existence of the documentation in the narrative section
of the SAR form. However, the actual documentation should be maintained
on file at the organization for a minimum period of five years

l Filers are encouraged to adopt and utilize a standardized format for identify-
ing the reporting organization on the SAR form (e.g., Community Bank of the
U.S.A., or Community Bank of the United States of America). Along with the
organization name and EIN, a complete address, including city, state, and zip
code, should always be included on the SAR forrn.

l A SAR should always identify the organization ’s primary F ederal regulator.

l When reporting the “total dollar amount involved in known or suspicious
activity,” only whole dollar amounts should be listed, no cents (e.g., indicate
$10,000, not $10,000.74). If there is no actual dollar amount connected to
the suspicious activity, “0” should be entered on the form. Monetary values
reflected on the SAR form should always be entered as U.S. dollars If a
suspicious transaction involves a foreign currency, indicate this fact in the
narrative section of the SAR form--also provide the type/name of the foreign
currency, the amount of the transaction, and the conversion rate used to reach
the U.S. dollar figure.

 

24

 

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 29 of 34

l SARs are properly filed With the IRS’ Detroit Computing Center (DCC).
Magnetically filed (disk) and paper SARs should be addressed to “FinCEN,
Detroit Computing Center, P.O. Box 33980, Detroit, MI 48232-0908.”

SAR Form Completion-National Overview

The following chart provides a statistical breakout of the percentage completion
rate for each field on the SAR form for all SARs in the national database (ap-
proximately 400,000 records at time of this report). Each row of the chart is
keyed to successive fields on the SAR form. Additional columns represent all
financial institutions grouped under the appropriate regulator as reported by the
institution Intersection of a row and column shows the percentage completion
rate for the specific field for all financial institutions for each regulator, and
indicates if the percentage completion rate varies statistically above (A) or below
(B) the national average for that field. (The “Other” column represents SARs
filed either by non-bank financial institutions or by banks that did not identify
their regulator.)

SAR Form Completion Rate_National Database

FRB FD|C NCUA OCC OTS OTHER

Fie|d Numberof Filings 18,064 21,352 3,948 78,108 16,363 258,582
1 Report Type 93.62A 93.11A 96.22A 92.41A 91.70A 7.00B
2 Name of Financia| lns|ilulion 98.64 98.45 97.24 99.49A 99.29 98.17B
3 Primary Federa| Regulator 100.00A 100.00A 100.00A 100.00A 100.00A.00B
4 Address of Financia| |nstitulion 99.96 99.98 99.86 99.98 99.99 99.86
5 City 99.97 99.99 99.92 99.99 99.99 99.87
6 State 99.88 99.95 99.86 99.99 99.97 99.76
7 Zip Code 99.81 99.86 99.76 99.97 99.96 99.72
8 E|N orTlN 94.62 95.81 80.508 98.02A 98.15A 92.89B

_\
0

Address of Branch Omce(s) 100 100 100 100 100 100
153 AccountNumber(s)Affecled 76.26B 81.51A 81.97A 83,19A 86.74A 72.24B
15b AccountNumber(s)Affected 9.26B 13.70A 11.65 11.2 12,39A 10.00B

16 Related Accounts Closed? 0 0 0 0 0 0

17,18,19 SuspectName 98.74 99.37 98.74 99.59 99.7 99.33
20 Address 86.433 93.32A 95.24A 89.07B 97.04A 91.18
21 SSN,E|N,orT|N 65.768 79.71A 85.99A 71.35A 78.04A 67.398
22 City 88.1OB 93.46A 95.09A 89.298 97.05A 91.26
23 State 84.883 91.31A 94.37A 86.928 92.94A 88.32
24 Zip Code 80.068 89.24A 93.50A 84.63B 92.16A 85.82

 

25

 

Case 1:17-Cv-O4179-DLC Document 38-21

25

26

27

28

29
303-d
30e
30f

31

32

33

34

35

36
37a-r
37r-desc
38

39

40

41

42

43

44

45

46
47.48,49
50

51

52

53

54

55

56

57

58
59,60,61
62

63

64
65,66,67
68

Part V|l

A = Slal§st[cal|y above the national average
B = Slallsllcally below the national average

Counlry

Date of Binh

Phone Number - Residence
Phone Number - Work
Occupalion

Forms of |denllficallon
IDN Number

lssuing Authority
Relationship lo Fin |nsl
|nsider Suspect Still AfElialed?
Dale: Suspfl'erm/Reslgn
Admission/Confession
Suspicious Activity Date
Vlolalion Dollar Amounl
Vio|alion

Wolalion (Other)

Loss Prior lo Recovery
Amount of Recovery
Soundness Affecled?
Bonding Co. Notil`led?
Law Enforce Referra|
Address

City

State

Zip Code

Wilness Name
Address

SSN

City

Stale

Zip Code

Dale of Binh

Tille

Phone Number
lnlerviewed?

Preparer lnformalion
Title

Phone Number

Dale

Conlacl for Assistance
Tille

Narrallve

100
100.00A
0
17.78
13.59
15.5
15.44
13.763
98.64
80.353
39.483
85.74
89.69A
76.26B
29.18A
0
69.43B
0
98.26A
97.68A
0

0
67.04A
66.40A
97.60A

Filed 01/19/13 Page 30 of 34

100.00A
0
23.59A
17.85A
19.81A
19.81A
18.53A
99.22
88.6
58.89A
90.41A
91 .31A
85.82A
39.08A
0
86.57B
0
97.20A
96.89A
0

0
bO.45A
59.13A
94.69

100.00A 100.00A 100.00A 7.51B

0
33.40A
25.80A
28.43A
28.03A
25.61A
98.56
92.56A
75.00A
91 .72A
91 .30A
90.19A
55.73A
0
89.35
0
95.90A
93.91A
0

0.02
42.92A
40.14A
76.33B

0
13.953
10.465
12.12B
12.13B
10.81B
99.13
88.58
36.84B
78.81B
76.99B
73.018
23.80A
0

91 .94A
0
98.83A
98.65A
0

0
43.89A
43.45A
98.23A

0
15.43B
12.97B
13.87B
13.94B
13.165
99.13
96.29A
51 .93A
94.81A
94.74A
93.24A
34.84A
0
90.97A
0
98.87A
98.53A
0

0
58.60A
58.30A
99.05A

0
20.54A
15.96A
17.74A
17.61A
16.79A
98.72
89.68A
47.60/-\
87.83A
87.25A
84.09A
10.763
0
89.55A
0
7.203
6.97B
0

0
3.81B
3.753
93.08B

 

26

 

Case 1:17-cv-O4179-DLC Document 38-21 Filed 01/19/13 Page 31 of 34

Section 5
Issues 8c Guidance

This section of the SAR Activity Review discusses current issues of common
interest raised with regard to the preparation and filing of SARs The discussion
is intended to identify SAR-related issues and then provide explanations so that
filing organizations can reasonably address these issues This section represents
the collective opinions of the government agencies that require organizations to
file SARs.

Repeated SAR Filings on the Some Activity

One of the purposes of filing SARs is to identify violations or potential violations
of law to the appropriate law enforcement authorities for criminal investigation
This is accomplished by the filing of a SAR that identifies the activity of concern
Should this activity continue over a period of time, it is useful for such informa-
tion to be made known to law enforcement (and the bank supervisors). As a
general rule of thumb, organizations should report continuing suspicious activity
with a report being filed at least every 90 days This will serve the purposes of
notifying law enforcement of the continuing nature of the activity, as well as
provide a reminder to the organization that it must continue to review the suspi-
cious activity to determine if other actions may be appropriate, such as terminat-
ing its relationship with the customer or employee that is the subject of the filing.

Cessatz`on of Relatz`omh¢`p/Closure ofAccount

The closure of a customer account as the result of the identification of suspicious
activity is a determination for an organization to make in light of the information
available to the organization A filing of a SAR, on its own, should not be the
basis for terminating a customer relationship. Rather, a determination should be
made with the knowledge of the facts and circumstances giving rise to the SAR
filing, as well as other available information that could tend to impact on such a
decision It may be advisable to include the organization’s counsel, as well as
other senior staff, in such determinations

Tz'mz`ngfbr .S}‘lRfilz`ngs
The SAR rules require that a SAR be filed no later than 30 calendar days from the

date of the initial detection of the suspicious activity, unless no suspect can be
identified, in which case, the time period for filing a SAR is extended to 60 days

 

27

 

Case 1:17-Cv-O4179-DLC Document 38-21 Filed 01/19/13 Page 32 of 34

It may be appropriate for organizations to conduct a review of the activity to
determine whether a need exists to file a SAR. The fact that a review of customer
activity or transactions is determined to be necessary is not necessarily indicative
of the need to file a SAR, even if a reasonable review of the activity or transac-
tions might take an extended period of time, The time to file a SAR starts when
the organization in the course of its review or on account of other factors reaches
the position in which it knows or has reason to suspect, that the activity or
transactions under review meets one or more of the definitions of suspicious
activity,

Of course, an expeditious review, wherever possible, is recommended and can be
of significant assistance to law enforcement In situations involving violations of
law requiring immediate attention, the organization should immediately notify
appropriate law enforcement and supervisory authorities in addition to filing a
SAR.

Di.n:losure of SARs and Underlying Suspicious Activity

Federal law (31 U.S.C. 5318(g)(2)) prohibits the notification of any person that is
involved in the activity being reported on a SAR that the activity has been re-
ported. This prohibition effectively precludes the disclosure of a SAR or the fact
that a SAR has been filed. However, this prohibition does not preclude, under
federal law, a disclosure in an appropriate manner of the facts that are the basis of
the SAR, so long as the disclosure is not made in a way that indicates or implies
that a SAR has been filed or that the information is included on a filed SAR.

The prohibition against disclosure can raise special issues when SAR records are
sought by subpoena or court order. The SAR regulations direct organizations
facing those issues to contact their primary supervisor, as well as FinCEN, to
obtain guidance and direction on how to proceed. In several matters to date,
government agencies have intervened to ensure that the protection for filing
organizations and the integrity of the data contained within the SAR database
remain intact.

 

28

 

Case 1:17-cv-O4179-DLC Document 38-21 Filed 01/19/13 Page 33 of 34

 

Section 6
Industry Forurn

In each issue of the SAR Activity Review, representatives from the financial
services industry will offer insight into Some aspect of fraud prevention In this
issuc, the American Bankers Association (ABA) offers their “Check Fraud Loss
Report" from the first quarter of 2000. One interesting statistic is the relatively
high percentage of losses due to new account fraud in the western part of the
U.S. For more information please contact John Byrne, ABA Senior Counse| and

Compliance Manager, at jbyrne{a?aba.com.

CHECK FRA UD LOSS REPORT
First Quarter 2000

National Summary

TOP FIVE LOSS CATEGOR[ES (by Number of`Accounts)
i. Return losses excluding closed accounts NS|"s, and stop payment
[oiher return loss reasons) (l)*

Forgcd maker’s signature (3)

Counterfeit (21

NSFs (4)

Closed accounts (o)

\.h-CLL»JI\J

Last quarter’s rank in parentheses

l Check-related losses decreased from S l . |2 per transaction account to 50.94 in the first quartei'. /\
year agu. check-related losses totaled 51.26 per transaction account

- Compared with the same period a year ago, losses were lower in the Northeast, Southcast, and
Wcst, but were higher in the Central and Southwcst regions By type of fraud, lower losses were
reported l`or most categories The most significant improvement appears to be losses associated
with return items

0 The Ccntral region had the highest losses [at Sl ,41 per transaction account}, followed by the
Southwest (Sl.l 8)__ West ($1.02). Southeast ($0.90), and Northeast (50.65) regions

l "()thcr return loss rcasons” was the leading loss category in the Central, Soulhwesi, and West
regions In the Northeast and Southeast, the top loss category was counterfeit A year ago, the
leading loss categories incfudcd counterfeit (tlie Northcasl) and "other return loss reasons" (all
other regions).

l Combining all classifications losses per case averaged Sl ,838, down from 52,007 in the fourth
quarter and $ l ,972 a year ago. Losscs per case averaged $1,307 in the West, $ l ,649 in the
Southwesl. $2,425 in the Southeast, $3,028 in the Northeast, and 53,185 in the Centt'al region

- New account losses amounted to SU. 19 per transaction account or 36.04» per new account opened,
compared with 30.3l and 58.01, respectiver in the fourth quaner. and 50.38 and $8.70. respec-
tively, a year ago. Execpt for the West, all regions reported a decrease in new account losses in the
lirst quarler. The West experienced an increase in new account losses per new account opened

¢ Nationally, 20 percent of`f`raud losses were associated with new accounts a substantial improve-

rncni. from the 30 percent in the first quarter 1999_ By region losses attributed to new accounts
ranged from 7 percent in the Central region to 25 percent in thc West.

_Survey results reveal that losses associated with uuc name fraud appear to be rising. particularly
in the Northeast.

Case 1:17-cv-O4179-DLC Document 88-21 Filed 01/19/18 Page 34 of 34

Fcedbacl< Form

Department of the Treasury - Financial Crimes Enforcement thworl<

 

 

To: FinCEN Ofiiee of Srratcgic Analysis
Fax 703-905-3698
ora@fmcen.treas.gov

or
American Bankers Assoeiarion
FAX 202-828-5052
jbyrnc@aba.com

Subjea: The SAR Activity RevieW~-Ocrober 2000

Frorn :

 

Titlc:

 

 

OHice/Ageney:

TClehOnCZ (include area code)

 

Email Address:

 

Comments :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

30

 

